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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 0:17-CV-60104-KMM

  ROBERT ORLOFF and                  )
  JOLIE ORLOFF,                      )
                                     )
       Plaintiffs,                   )
                                     )
  v.                                 )
                                     )
  TUCKER & TIGHE, P.A.,              )
                                     )
       Defendant.                    )
  __________________________________ )

                   STIPULATED NOTICE OF VOLUNTARY
                  DISMISSAL OF ACTION WITH PREJUDICE

        The parties, through their undersigned attorneys, hereby agree to dismiss this

  case with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party will

  bear their own respective costs, expenses, and attorneys’ fees.

        Dated: January 15, 2018.                Respectfully Submitted,

        /s/ Lourdes E. Ferrer                   /s/ Michael T. Ross
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        Attorney for Tucker & Tighe, P.A.

                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 15, 2018, I electronically filed the

  Stipulated Notice of Voluntary Dismissal of Action with Prejudice using the

  CM/ECF system. I certify that all participants in this case are CM/ECF users and

  that service will be accomplished by the CM/ECF system.



                                             /s/ Michael T. Ross         _
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